                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



Civil Action No.: 1:12-cv-02550-WYD-KMT

KRISTINA HILL,
BRIAN EDWARDS, and
THOMAS PRIVITERE,

        Plaintiffs,

v.

PUBLIC ADVOCATE OF THE UNITED STATES,

        Defendant.


     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                       FIRST AMENDED COMPLAINT




        Before the Court is Plaintiffs’ Motion for Leave to File First Amended Complaint

Pursuant to Fed. R. Civ. P. 15(a)(2).

        Upon consideration, the Court hereby GRANTS the Motion. Plaintiffs’ tendered First

Amended Complaint is hereby accepted as filed on April 3, 2013.



DATED this __ day of ___________, 2013.             BY THE COURT:
